Case 1-25-44009-€SS DOC Yl-5 Filed VUciisico Entered 02/15/20 LULL fico

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

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In re: Chapter 11
25 JAY STREET, LLC Case No.: 23-44083
Debtor
ae ee een ene xX
AFFIDAVIT OF SERVICE

STATE OF NEW YORK _)
) ss.:
COUNTY OF NASSAU _ )

Angelique Filardi, being duly sworn, deposes and says:

Deponent is not a party to the action, is over 18 years of age and resides in Plainview, New

York.

On February 13, 2025, deponent served a copy of the within Operating Report —
December 2024 by regular mail upon the parties listed on the annexed list at the addresses listed,
said addresses designated for that purpose, by depositing a true copy of same enclosed in a post
paid, properly address wrapper, in an official depository under the exclusive care and custody of

the United States Postal Service within the State of New York by regular mail.

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Angelig\t e qhe Filatdi

To: * See Attached List *

Sworn to me this 13"
day of February, 2025

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NOTARY PUBLIC

STEVEN E. SHUMER
Notary Public, State of New York
No. 025H5007184
Qualified in Suffolk County OX
Commission Expires January 25, 20 ~“.
Case 1-25-440095-€SS DOC Yl-5 FIEd Ucilsico

U.S. Trustee

United States Trustee

Alexander Hamilton Custom House
One Bowling Green, Room 510
New York, New York 10004

Matthew G. Summers, Esq.
Laurel D. Roglen, Esq.

Ballard Spahr, LLP

919 N. Market Street, 11" Floor
Wilmington, DE 19801

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